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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                     4:04-CR-00056-01-WRW

ANTHONY BROWN

                                              ORDER

       Pending is Defendant’s Motion to Reduce Sentence (Doc. No. 89). Defendant requests a

reduction of his sentence under 18 U.S.C. § 3582(c)(2), based upon the retroactive application of

the crack cocaine penalty reduction imposed by the United States Sentencing Commission,

effective March 3, 2008. After reviewing the case, I find that Defendant is not entitled to a

reduction of his sentence.

       Not every person sentenced for a crack cocaine offense is eligible for a sentence

reduction.1 Only those persons currently serving a sentence determined or affected by a

sentencing range calculated using the drug quantity table, U.S.S.C. § 2D1.1, are potentially

eligible. If a defendant was not sentenced based on the drug quantity table, there is no basis for

the Court to exercise its discretion to grant a sentence reduction.2

       Defendant was sentenced to 570 months in prison on January 21, 2005.3 On January 30,

2008, Defendant’s sentence was reduced to 240 months,4 based on a Rule 35 motions where the




       1
        See U.S.S.G. § 1B1.10, Reduction in Term of Imprisonment as a Result of Amended
Guideline Range (Policy Statement) (March 3, 2008).
       2
        U.S.S.G. § 1B1.10(a)(1).
       3
        Doc. Nos. 64, 65.
       4
        Doc. No. 81.

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parties agreed to the specific sentence of 240 months.5 Because Defendant’s sentence was based

on a specifically agreed-to sentence, rather than the drug quantity table, the crack cocaine

amendment does not apply.6

       Accordingly, Defendant’s Motion to Reduce Sentence (Doc. No. 89) is DENIED.

       IT IS SO ORDERED this 21st day of August, 2008.


                                              /s/ Wm. R. Wilson, Jr._____________
                                              UNITED STATES DISTRICT JUDGE




       5
        Doc. No. 78.
       6
         Although done under Rule 35, the agreement in this case was akin to a Rule 11(c)(1)(C)
plea -- the parties agreed to a specific sentence. Courts have found that such sentences are not
affected by the crack cocaine amendment and cannot be reduced under § 3582. See United
States v. Bride, No. CR04-5350 RBL, 2008 WL 2782688 (W.D. Wash. July 14, 2008); United
States v. Tindall, No. 3:04CR00031-2, 2008 WL 2518546 (W.D. Va. June 19, 2008); United
States v. Clayborn, No. 1:CR-05-51-01, 2008 WL 2229531 (M.D. Pa. May 28, 2008); United
States v. Gordon, 2008 WL 901911 (E.D. Okla. March 21, 2008).

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